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14                                UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                   SAN FRANCISCO DIVISION

17

18    Media Chain, LLC                           Case No. 21-cv-09528-EMC
19                  Plaintiff,                   ADMINISTRATIVE MOTION TO
                                                 RESCHEDULE CASE MANAGMENT
20           vs.                                 CONFERENCE AND EXTEND OTHER
                                                 DEADLINES
21    Roku, Inc.
22                  Defendant.
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              ADMINISTRATE MOTION TO RESCHEDULE CASE MANAGEMENT CONFERENCE AND EXTEND OTHER DEADLINES
                                                                             CASE NO. 21-CV-09528-EMC
          Case 3:21-cv-09528-EMC Document 84 Filed 03/16/22 Page 2 of 3



 1          The parties have entered settlement negotiations. An agreement appears likely, but the parties
 2   may not be able to reach an agreement prior to certain imminent deadlines. In particular, the initial
 3   case management conference is currently scheduled for March 22, 2022, and the Court ordered Media
 4   Chain to appoint new counsel by March 21, 2022. Dkt. 80. Therefore, with permission of Plaintiff
 5   Media Chain LLC, Defendant Roku, Inc. moves the Court to reschedule the case management
 6   conference and to extend the deadline for Media Chain to appoint new counsel to April 26, 2022.
 7   These extensions will provide the parties with sufficient time to determine whether a settlement
 8   agreement is possible and memorialize any such agreement to writing.
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11   Dated: Mach 16, 2022                        WINSTON & STRAWN LLP
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            ADMINISTRATIVE MOTION TO RESCHEDULE CASE MANAGEMENT CONFERENCE AND EXTEND OTHER DEADLINES
                                                                             CASE NO. 21-CV-09528-EMC
          Case 3:21-cv-09528-EMC Document 84 Filed 03/16/22 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that on March 16, 2022, a true and correct copy of the
 3   ADMINISTRATIVE MOTION TO RESCHEDULE CASE MANAGMENT CONFERENCE AND
 4   EXTEND OTHER DEADLINES was electronically filed with the Clerk of the Court using the
 5   CM/ECF system, which sends notifications of such filing to all counsel of record who have
 6   consented to accept service by electronic means.
 7

 8
                                                        /s/ Michael A. Tomasulo
 9                                                      Michael A. Tomasulo
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                                                                                   CERTIFICATE OF SERVICE
                                                                                CASE NO. 21-CV-09528-EMC
